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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               No. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                                DEFENDANT

                                          ORDER

      Pending before the Court is defendant Joshua A. Hawley’s unopposed motion for continuance

of revocation hearing currently set for Friday, December 20, 2013. The motion is GRANTED.

Document #695.

      The supervised release revocation hearing for defendant Joshua A. Hawley is hereby

rescheduled for MONDAY, JANUARY 6, 2014, at 10:30 A.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

Document #661.

      IT IS SO ORDERED this 19th day of December, 2013.



                                                  _________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
